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7                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
8                                 MEDFORD DIVISION
9
     In re the Matter of J.P. and E.P.:
                                                      Civil Action No. 1:24-cv-00648-AA
     ARNAUD PARIS,
11                                                    PETITIONER'S REQUEST FOR
                                Petitioner,           EXPEDITED BEARING UNDER
12   and                                              ARTICLE 11 OF THE HAGUE
13                                                    CONVENTION AND LR 7-l(g) ON
     HEIDI MARIE BROWN,                               RESPONDENT'S MOTION TO,.
14                                                    DISMISS TIDS HAGUE ACTION
                               Respondent.
15                                                    Oral Argument and Evidentiary Hearing
                                                      Requested Expeditiously under the Hague
16                                                    Convention Article 11 with Remote
                                                      Appearance ofPetitioner living in France
17

18
           Petitioner, Father, would like to ask that Respondent's motion to dismiss filed on
19
     May 28th be heard expeditiously under an evidentiary hearing to which Petitioner should
20

21   be allowed to participate remotely from France as this Hague Action requires these

22   proceedings to be expedited under the Article 11 of the Hague Convention which says:
23
           The judicial or administrative authorities of Contracting States shall act
24
           expeditiously in proceedings for the return of children.
25

      PETITIONER'S REQUEST FOR EXPEDITED
      HEARING ON RESPONDENT'S MOTION
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           If the judicial or administrative authority concerned has not reached a decision
2

3
           within six weeks from the date of commencement of the proceedings, the applicant

4          or the Central Authority of the requested State, on its own initiative or if asked by

5          the Central Authority of the requesting State, shall have the right to request a
6
           statement ofthe reasons for the delay. If a reply is received by the Central Authority
7
           of the requested State, that Authority shall transmit the reply to the Central
8
           Authority of the requesting State, or to the applicant, as the case may be.
9

     Father filed this Hague Action on April 16th 2024, so more than 14 weeks ago, and LR 7-

11   l(g) also provides authority for a party to request an expedited hearing if they believe that
12   a prompt decision is necessary, which the attached letter from the Oregon psychologist
13
     Kathy Marshack supports. See attached Exhibit 01, Letter from Kathy Marshack.
14
           Furthermore the French Central Authority has advised Father to communicate this
15

16
     same letter from Kathy Marshack, an Oregon established psychologist, who is concerned

17   about the mental well being of our children and the likely parental alienation on the part of

18   their Mother, Respondent. Therefore Miss Marshack is advising and asking the Federal
19
     Court to act promptly to provide a wellfare check on our children as well as a psychological
20
     evalution of both our children and their mother, Respondent. See attached Exhibit 01.
21
            Father would like to also inform the court that to help facilitate the expeditiousness
22

23   of this matter he recently obtained confirmation from Emmanuel Macron's French

24   presidency office and from the French minister of Justice Eric Dupond-Moretti that France
25
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     is ready and willing to provide Honorable Judge Aileen with a letter under the article 15 of
2

3
     the Hague Convention regarding the wrongful nature of the removal of Eva and Juliette

4    from French territory if Honorable Judge Aiken would like to receive that letter promptly

5    from the French authorities as part of these Hague Proceedings.
6
            This letter under Article 15 would refer in part to the previously provided notice
7
     from the French criminal judge in charge of the abduction of Eva and Juliette Paris that
8
     Respondent, Miss Brown, conducted on French soil lasts April. This document from the
9

10   Paris French Criminal Judge which had been previously provided to this court_ on June 21 st

11   under Exhibit 71 "Notice to victim May 31'"' and that contained an error in its English
12   translation. The corrected title of this notice is the following:
13
     "NOTICE TO VICTIM TO FILE AS A CIVIL PARTY IN A CRIMINAL ACTION"
14
     Instead of:
15

16
     "NOTICE TO VICTIMS TO FILE CIVIL SUIT"

17   See attached Exhibit 02, corrected certified translation "Notice to victim May 3P'".

18
                   DATED this 31st day of July, 2024, in Paris, France
19

20                                                       Submitted by:
                                                         Arnaud PARIS, Pro Per
21

22

23
                                                         13 rue Ferdinand Duval
24                                                       75004 Paris, FRANCE
                                                         +33.6.88.28.36.41
25
      PETITIONER'S REQUEST FOR EXPEDITED
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4                                         VERIFICATION

5           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
     of America that the foregoing is true and correct.
6

7
     SIGNED AND DATED this 31st day of July, 2024, in Paris, France.

8

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10

11                                       Arnaud Paris

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1

2                          CERTIFICATE OF SERVICE
3        I hereby certify that I served the foregoing PETITIONER'S REQUEST FOR
         EXPEDITED HEARING UNDER ARTICLE 11 OF THE HAGUE CONVENTION
4        AND LR 7-l(g) ON RESPONDENT'S MOTION TO DISMISS THIS HAGUE
         ACTION on the following party:
5
                                  Katelyn Skinner at kds@buckley-law.com
6                                  Katrina Seipel at kas@buckley-law.com
                                          Attorneys for Respondent
7

8    By the following method or methods:

9    _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office address of the attorney(s),
     and deposited with the United States Postal Service at Portland, Oregon on the date set forth below.

11   l _ by emailing full, true, and correct copies thereof to the attorneys on record for Respondent
      shown above, which is the last known email address for the respondent's attorneys on the date set forth below.
12
            by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
13    shown above, which is the last known fax number for the attorney(s) office, on the date set forth below. The
      receiving fax machines were operating at the time of service and the transmission was properly completed.
14
     _ _ by selecting the individnal(s) listed above as a service contact when preparing this electronic
15   filing submission, thus causing the individual(s) to be served by means of the court's electronic filing system.
16
                    DATED this 31st day of July, 2024, in Paris, France.
17

18
     By:_·_
19
     ARNAUD PARIS, Petitioner
20
     ARNAUD PARIS
21   13 rue Ferdinand Duval
     75004, PARIS, FRANCE
     Telephone: +33688283641
22
     Email: aparis@sysmicfilms.com
23

24

25

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